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Prepared By:
Margaret Smith
225 Town Park Drive

Suite 450 GEORGIA CLOS|NG ASSOCIATES, INC.
Kennesaw, GA 3815 Presiden ial Parkway, Suita 100
30144 ATLANTA, GEORGIA 30340

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SECURITY DEED

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DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections
3. Il, 13, 8, 20 and 21. Certain rules regarding the usage of words used in th s document are also provided
in Section 16.

{A) "Security Instrument" means this document, which is dated July 7, 2006 ’
together with all Riders to this document.
{B) “Borrower” is Hussain Kareem

Borrower is the grantor under this Security Instrument.

(C) "MERS” is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is
acting solely as a nominee for Lender and Lender's successors and assigns. MERS is the grantce under
this Security Instrument. MERS is organized and existing under the laws of Delaware, and has an address
and telephone number of P.O. Box 2026, Flint, MI 48501-2026, tel. (888) 679- NERS.

DOC #:323091 APPL #:0001356490

ZEORGIA -Single Family- Fanoie Mae/Freddle Mac UNIFORM INSTRUMENT WIVH MERS

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(D) "Lender" is American Brokers Conduit

Lender isa Corporation
organized and existing under the laws of State of New York
Lender's address is 538 Broadhollow Road, Melville, NY 11747

(E) “Note” means the promissory notc signed by Borrower anddated July 7, 2006

The Note states that Borrower owes Lender One Hundred Fifty Nine Thousand Two
Hundred and No/100 Dollars
(U.S. $159,200.00 ) plus interest. Borrower has promised to puy this debt in regular Periodic
Payments and to pay the debt in full not later than August 1, 2036 .

(F) "Property" means the property that is described below under the heading “Transfer of Rights in the
Property.”

(G) "Loan" means the debt evidenced by the Note, plus interest. any prepayment charges and late charges
due under the Note, and all sums due under this Security Instrument, plus interest.

(H) "Riders" means sli Riders to this Security Instrument that are executed by Borrower. The following
Riders are to be executed by Borrower {check box as applicable]:

1c] Adjustable Rate Rider {_] Condominium Rider _] Secor d Home Rider
__} Balloon Rider {| Pianned Unit Development Rider [__] 1-4 Family Rider
VA Rider [_] Biweekly Payment Rider LX] Other(s) [specify]

Waiver of Borrower's Rights

(1) "Applicable Law" all controlling applicable federal, state aid local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final.
non-appealabic judicial opinions.

(J) “Community Association Dues, Fees, and Assessments” means all ducts, fces, assessments and other
charges that are imposed on Borrower or the Property by a condominium association, homeowners
association or similar organization.

(K) "Electronic Funds Transfer" means any transfer of funds, other than a t-ansaction originated by check,
draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument,
computer, or magnetic tape so as to order, instruct, or authorize a financial nstitution to debit or credit an
account. Such term includes, but is not limited to, point-of-sale transfers, automated teller machine
transactions, transfers initiated by telephone, wire transfers, and uuomated cleringhouse transfers.

(L) “Escrow Items" means those items that are described in Section 3.

(M) "Miscell Pr ds" any compensation, settlement, award of damages, or proceeds paid by
any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i)
damage to, or destruction of. the Property: (ii) condemnation or other taking o” all or any part of the Property,
(ii) conveyance in ticu of condemnation; or (iv) misrepresentations of, or or rissions as to. the value and/or
condition of the Property.

(N) "Mortgage Insurance” mcans insurance protecting Lender against the ncnpayment of, or default on, the
Loan.

(O) “Periodic Payment" means the regularly scheduled amount due for (J) principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument.

(P) "RESPA"™ means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time,
or any additional or successor legislation or regulation that governs the same subject matter. As used

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in this Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard to a
"federally related mortgage loan” even if the Loan does not qualify as a "fecerally rclated mortgage oan”
under RESPA.

(Q) "Successor in Interest of Borrower" means any party that has taken title ta the Property, whether or not
that party has assumed Borrower's obligations under the Note and/or this Securi-y Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY
This Security Instrument secures to Lender: (i) the repayment of the Loan, an all renewals, extensions and
modifications of the Note. and (ii) the performance of Borrower's covenans and agreements under this
Security Instrument and the Note. For this purpose, Borrower does hercby grant and convey to MERS (solely
as nominec for Lender and Lender's successors and assigns) and the successo’s and assigns of MERS. with
power of sale, the following described property located in the
County of Gwinnett

{Type of Recording Jurisdiction} (Name of Recording Jurisdiction}
SEE EXHIBIT A AS ATTACHED HEREIN AND MADE A PART HEREOF

Parcel ID Number: 7037 613 which currently has the address of
2197 Carlysle Creek Drive (Street]
Lawrenceville (City) . Georgia 30044 [Zip Code}

("Property Address"):

TO HAVE AND TO HOLD this property unto MERS (solely as nominee for Lender and Lender's
successors and assigns) and to the successors and assigns of MERS, orever. together with all the
improvements now or hereafter crected on the property, and all easements. aopurtenances. and fixtures now
or hereafter a part of the property. All replacements and additions shall alo be covered by this Security
Instrument. All of the foregoing is referred to in this Security Instrument as the “Property.” Borrower
understands and agrees that MERS holds only legal title to the interests grantud by Borrower in this Security
Instrument, but, if necessary to comply with law or custom, MERS (as noraince for Lender and Lender's
successors and assigns) has the right: to exercise any or all of those interests, ncluding, but not limited to, the
right to foreclose and sell the Property; and to take any action required of Lenter including, but not limited to,
releasing and canceling this Security Instrument.

BORROWER COVENANTS that Borrower is lawfully seised of the «state hereby conveyed and has
the right to grant and convey the Property and that the Property is unencumbered, except for encumbrances of
record. Borrower warrants and will defend generally the title to the Property against all claims and demands.

subject to any encumbrances of record.
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THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Crarges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges duc under the Note. Borrower shall also pay funds for Escrow Items
pursuant to Section 3. Payments due under the Note and this Security Inst ument shali be made in U.S.
currency. However, if any check or other instrument received by Lender as piyment under the Note or this
Security Instrument is returned to Lender unpaid. Lender may require that ary or all subscquent payments
due under the Note and this Security Instrument be made in one or more of the following forms, as selected
by Lender: (a) cash; (b) money order: (c) certified check, bank check, treasurer's check or cashier's check,
provided any such check is drawn upon an institution hose deposits arc insured by a federal agency.
instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at
such other location as may be designated by Lender in accordance with the notice provisions in Section 15.
Lender may return any payment or partial payment if the payment or partial pa:ments are insufficient to bring
the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan current.
without waiver of any rights hereunder or prejudice to its rights to refuse such sayment or partial payments in
the future, but Lender is not obligated to apply such payments at the time such payments are accepted. If each
Pcriodic Payment is applied as of its scheduled due date, then Lender need not pay interest on unapplied
funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan current. If
Borrower does not do so within # reasonable period of time, Lender shall eiticr apply such funds or return
them to Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance under
the Note immediately prior to foreclosure. No offset or claim which Borrower might have now or in the
future against Lender shail relieve Borrower from making payments due unter the Note and this Security
Instrument or performing the covenants and agrcements secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, al! payments
accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the
Note: (b) principal duc under the Note: (c) amounts due under Section 3. Such payments shall be applied to
cach Periodic Payment in the order in which it became due. Any remaining anounts shall be applied first to
late charges, second to any other amounts due under this Security Instrument, ind then to reduce the principal
balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due, the payment may be applicd to he delinquent payment and the
late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received from
Borrower to the repayment of the Periodic Payments if, and to the extent that, cach payment can be paid in
full. To the extent that any excess exists after the payment is applied to the full payment of one or morc
Periodic Payments, such excess may be applied to any late charges duc. ‘Voluntary prepayments shall be
applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal duc under the
Note shall not extend or postpone the due date, or change the amount, of the P2riodic Payments.

3. Fuads for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments arc duc under
the Note, until the Note is paid in full, a sum (the "Funds”) to provide for ptyment of amounts duc for: (a)
taxes and assessments and other items which can attain priority over this Security Instrument as a lien or
encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any: (c) premiums
for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any,
or any sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in
accordance with the provisions of Section 10. These items are called “Escrow Items.” At origination or at any
time during the term of the Loan, Lender may require that Community Association Dues, Fecs, and
Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item.
Borrower shall promptly furnish to Lender all notices of amounts to be pard under this Section. Borrower
shall pay Lender the Funds for Escrow Items unless Lender waives Borrowcr's obligation to pay the Funds
for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender Funds for any or all
Escrow Items at any time. Any such waiver may only be in writing, In the 2vent of such waiver, Borrower

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shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment of
Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such
payment within such time peciod as Lender may require. Borrower’ s obligation to make such payments and
to provide reccipts shall for all purposes be deemed to be a covenant and agreement contained in this Security
Instrument, as the phrasc “covenant and agreement” is used in Section 9. If Borrower is obligated to pay
Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item,
Lender may exercise its rights under Section 9 and pay such amount and Botrower shall then be obligated
under Section 9 to repay to Lender any such amount. Lender may revoke the -vaiver as to any or all Escrow
Items at any time by a notice given in accordance with Section 15 and, upon such revocation, Borrower shall
pay to Lender all Funds, and in such amounts, that are then required under this Section 3.

Lender may. at any time, collect and hold Funds in an amount (a) sufficent to permit Lender to apply
the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow [tems or otherwise in acc ordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a !ederal agency, instrumentality,
or entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home
Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under
RESPA. Lender shall not charge Borrower for holding and applying the }’unds, annually analyzing the
escrow account, or verifying the Escrow Itcms, unless Lender pays Borrower interest on the Funds and
Applicable Law permits Lender to make such a charge. Unless an agrecment is made in writing or Applicable
Law requires interest to be paid on the Funds. Lender shail not be required to pay Borrower any interest or
carnings on the Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the
Funds. Lender shall give to Borrower, without charge, an annual accounting; of the Funds as cequired by
RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA. Lender shail account to
Borrower for the excess funds in accordance with RESPA. tf there is a shortage of Funds held in escrow, as
defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the shortage in accordance with R2SPA, but in no more than 12
monthly payments. If there is a deficiency of Funds held in escrow, as definzd under RESPA, Lender shall
notify Borrower as required by RESPA, and Borrower shall pay to Lender th: amount necessary to make up
the deficiency in accordance with RESPA, but in no more chan 12 monthly pa.ments.

Upon payment in full of all sums secured by this Security Instrument, [ender shal! promptly refund to
Borrower any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments of
ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the
extent that these items are Escrow Items, Borrower shall pay them in the manter provided in Section 3.

Borrower shall promptly discharge any lien which has priority over -his Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
Lender, but only so long as Borrower is performing such agreement, (b) cont:sts the licn im good faith by, or
defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent the
enforcement of the lien while those proceedings arc pending, but only until such proceedings are concluded;
or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating the lien to this
Security Instrument. If Lender determines that any part of the Property is st.bject to a lien which can attain
priority over this Security Instrument, Lender may give Borrcwer a notice identifying the hen. Within 10

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12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower or
any Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any
Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization
of the sums secured by this Security Instrument by reason of any demand made by the original Borrower or
any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy
including, without limitation, Lender's acceptance of payments from third persons, entities or Successors in
Interest of Borrower or in amounts less than the amount then due, shall not be a waiver of or proctude the
exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and
agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who
co-signs this Security Instrument but docs not exccute the Note (a "co-signer”): (a) is co-signing this
Security Instrument only to mortgage, grant and convey the co-signer’s interest in the Property under the
terms of this Security instrument; (b) is not personally obligated to pay the sums secured by this Security
Instrument; and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or make
any accommodations with regard to the terms of this Security Instrument or the Note without the co-signer’s
consent,

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of
Borrower's rights and benefits under this Security Instrument. Borrower shall not be released from
Borrower's obligations and liability under this Sccurity Instrument unless Lender agrees to such release in
writing. The covenants and agreements of this Security Instrument shall bind (except as provided in Section
20) and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this
Sccurity Instrument, including, but not limited to, attorneys’ fees, property inspection and valuation fees. in
regard to any other fees, the absence of express authority in this Security Instrument to charge a specific fee
to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not charge fees
that are expressly prohibited by this Security instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limits, then: (a) any such loan charge shalt be reduced by the amount necessary to reduce the charge
to the permitted limit; and (b) any sums already collected from Borrower which excceded permitted limits
will be refunded to Borrower. Lender may choose to make this refund by reducing the principal owed under
the Note or by making a direct payment to Borrower. If a refund reduces principal, the reduction will be
treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is
provided for under the Note). Borrower's acceptance of any such refund made by direct payment to Borrower
will constitute a waiver of any right of action Borrower might have arising out of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must
be in writing. Any notice to Borrower in connection with this Security Instrument shall be decmed to have
been given to Borrower when mailed by first class mail or when actually delivered to Borrower's notice
address if scat by other means. Notice to any onc Borrower shall constitute notice to all Borrowers unless
Applicable Law expressly requires otherwise. The notice address shail be the Property Address unless
Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify
Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's change of
address, then Borrower shall only report a change of address through that specified procedure. There may be
only one designated notice address under this Security Instrument at any onc time. Any notice to Lender shall
be given by delivering it or by mailing it by first class mail to Lender's address stated herein unless Lender
has designated another address by notice to Borrower. Any notice in connection with this Security instrument
shall not be deemed to have been given to Lender until actually received by Lender. If any notice required by
this Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy
the corresponding requirement under this Security Instrument.

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16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed
by federal law and the law of the jurisdiction in which the Property is located. All rights and obligations
contained in this Security Instrument are subject to any requirements and limitations of Applicable Law.
Applicable Law might explicitly or implicitly allow the parties to agree by contract or it might be silent, but
such silcnce shall not be construed as a prohibition against agrcement by contract. In the event that any
provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shalt
not affect other provisions of this Security Instrument or the Note which can be given cffect without the
conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
inchide the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to take
any action.

17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
"Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited to,
those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or escrow
agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.

If ali or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written
consent, Lender may require immediate payment in full of al! sums secured by this Security Instrument.
However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
Instrument without further notice or demand on Borrower.

19. Borrower's Right to Reinstate After Acceleration. If Borrower mects certain conditions,
Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time prior
to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in this
Security Instrument; (b) such other period as Applicable Law might specify for the termination of Borrower's
right to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those conditions are that
Borrower: (a) pays Lender all sums which then would be duc under this Security Instrument and the Note as
if no acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all
expenses incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys’
fees, property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender's
interest in the Property and rights under this Security Instrument; and (d) takes such action as Lender may
reasonably require to assure that Lender's interest in the Property and rights under this Security Instrument,
and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged.
Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following
forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or
cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a federal
agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this
Security Instrument and obligations secured hereby shall remain fully effective as if no acceleration had
occurred. However, this right to reinstate shall not apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the
Note (together with this Security Instrument) can be sold one or more times without prior notice to Borrower.
A sale might result in a change in the entity (known as the “Loan Servicer”) that collects Periodic Payments
due under the Note and this Sccurity Instrument and performs other mortgage loan servicing obligations
under the Note, this Security Instrument, and Applicable Law. There also might be one or more changes of
the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer, Borrower will be
given written notice of the change which will state the name and address of the new Loan Servicer, the
address to which payments should be made and any other information RESPA requires in connection with 4

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BORROWER ACCEPTS AND AGREES to the terms and covenan's contained in this Security
Instrument and in any Rider executed by Borrower and recorded with it.
WITNESS WHEREOF. Borrower has signed and sealed this Security ‘nstrument.
(Seal) _. (Seal)
Hussain Kareem -Borrowet -Borrower
(Seal) eo (Seal)
-Borrower -Borrowet
(Seal) — _ {Seal}
-Borrower -Borrowet
— ee ____ (Seal) (Seal)
-Borrower -Borrower
STATE OF GEORGIA, Deka le County ss:
Signed, sealed and delivered in the presence of:
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EXHIBIT "A"

UNIT FOUR, AS PER PLAT RECORDED IN PLAT BOOK 75, PAGE 97 OF GWINNETT COUNTY,
GEORGIA, WHICH PLAT IS INCORPORATED HEREIN AND MADE A PART HEREOF BY
REFERENCE.

